          Case
           Case2:15-cr-00074-JAD-NJK
                 2:15-cr-00074-JAD-NJK Document
                                       Document77  Filed07/22/16
                                                75 Filed 07/25/16 Page
                                                                   Page11
                                                                        ofof
                                                                           33



 1   DANIEL G. BOGDEN
     United States Attorney
 2   District of Nevada
     SUSAN CUSHMAN
     Assistant United States Attorney
 3   501 Las Vegas Boulevard South
     Suite 1100
 4   Las Vegas, Nevada 89101
     702-388-6336
 5
                           UNITED STATES DISTRICT COURT
 6
                                DISTRICT OF NEVADA
 7                                                     -oOo-

 8   UNITED STATES OF AMERICA,                           )
                                                         )   Case No.: 2:15-cr-0074-JAD-NJK
                        Plaintiff,                       )
 9                                                       )   STIPULATION TO CONTINUE
                                                         )   SENTENCING
10            vs.                                        )   (Second Request)
                                                         )
11   VICTOR HUGO QUINTERO-ZEPEDA,                        )
                                                         )
12                      Defendant.                       )
                                                         )
13                  IT IS HEREBY STIPULATED AND AGREED, by and between Daniel Bogden,

14   United States Attorney; Susan Cushman, Assistant United States Attorney, counsel for the

15   United States of America and Jose Pallares, Esq. counsel for defendant, that sentencing in the

16   above-captioned matter currently scheduled to commence on Monday, August 15, 2016, at 9:00

17   a.m. be vacated and continued to a date and time convenient to all parties, but no earlier than 2

18   weeks.

19
                    This Stipulation is entered into for the following reason:
20
                    1. Counsel for the government is out of the District from August 15—26, 2016.
21
                    2. The parties agree to the continuance.
22

23                  3. The defendant is not in custody and does not object to the continuance.

24
     Case
      Case2:15-cr-00074-JAD-NJK
            2:15-cr-00074-JAD-NJK Document
                                  Document77  Filed07/22/16
                                           75 Filed 07/25/16 Page
                                                              Page22
                                                                   ofof
                                                                      33



 1       4. This is the second request to continue the sentencing.

 2       DATED this the 22nd day of July, 2016.

 3                                        Respectfully submitted,

 4                                        DANIEL G. BOGDEN
                                          United States Attorney
 5
                                          /s/ Susan Cushman
 6                                        __________________________
                                          SUSAN CUSHMAN
 7                                        Assistant United States Attorney

 8                                        /s/ Jose Pallares
                                          ___________________________
 9                                        JOSE PALLARES
                                          Counsel for Defendant
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24
                                          2
         Case
          Case2:15-cr-00074-JAD-NJK
                2:15-cr-00074-JAD-NJK Document
                                      Document77  Filed07/22/16
                                               75 Filed 07/25/16 Page
                                                                  Page33
                                                                       ofof
                                                                          33



 1

 2                    UNITED STATES DISTRICT COURT
 3                         DISTRICT OF NEVADA
                                               -oOo-
 4
     UNITED STATES OF AMERICA,                    )
 5                                                ) Case No.: 2:15-cr-0074-JAD-NJK
                   Plaintiff,                     )
                                                  ) ORDER TO CONTINUE
 6                                                ) SENTENCING
           vs.                                    )
 7                                                )
     VICTOR HUGO QUINTERO-ZEPEDA,                 )
 8                                                )
                   Defendant.                     )
 9                                                )

10          Based on the pending Stipulation of counsel, and good cause appearing therefore, the

11   Court hereby orders that sentencing in the above-captioned matter be vacated and continued

12         August 29, 2016 at the hour ofat10:00
     until __________________________             a.m.
                                            the hour of __________ .m.

13          DATED this ____
                       25 day of July, 2016.

14

15                                             ________________________________
                                               UNITED STATES DISTRICT JUDGE
16

17

18

19

20

21

22

23

24
                                              3
